Case 1:21-cr-00555-RCL Document 23 Filed 12/21/21 Page 1 of 18
                     Case 1:21-cr-00555-RCL Document 23 Filed 12/21/21 Page 2 of 18
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                              for the
                                                      District of

                  United States of America                      )
                             v.                                 )
                                                                )       Case No.
                 Pamela Anne Hemphill
                                                                )
                   DOB: XXXXXX                                  )
                                                                )
                                                                )
                          Defendant(s)


                                             CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 January 6, 2021              in the county of                              in the
                                                             , the defendant(s) violated:

            Code Section                                                  Offense Description
        18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds
        Without Lawful Authority,
        18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building ,
        40 U.S.C. § 5104(e)(2)(D) - Violent Entry and Disorderly Conduct on Capitol Grounds,
        40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building.


         This criminal complaint is based on these facts:




             Continued on the attached sheet.


                                                                                            Complainant’s signature

                                                                                   David Shumway, Special Agent
                                                                                            Printed name and title




Date:             08/02/2021
                                                                                              Judge’s signature

City and state:                                                                Zia M. Faruqui, U.S. Magistrate Judge
                                                                                            Printed name and title
              Case 1:21-cr-00555-RCL Document 23 Filed 12/21/21 Page 3 of 18

                                     CRIMINAL COVERSHEET
      DEFENDANT’S NAME: Pamela Anne Hemphill                                 JUVENILE: No
      DEFENSE ATTORNEY:
                 Address:                                          PUBLIC or SEALED: Public
                                                                        SERVICE TYPE: Warrant
                                                                 (Summons or Warrant or
                                                                  Notice (if Superseding))
                Telephone No.:                                                     ISSUE: Yes

                                     FBI Special Agent David
  INVESTIGATIVE AGENT:                                                   INTERPRETER: No
                                     Shumway
                Telephone No.:                                          If YES, language:
                                     Federal Bureau of
                     AGENCY:
                                     Investigation
CASE INFORMATION:                                              RELATED COMPLAINT:
Criminal Complaint and Arrest Warrant Issued by United         CASE NUMBER:
States Magistrate Judge Zia M Faruqui on 08/02/21

                             CRIMINAL CHARGING INFORMATION

  CHARGING DOCUMENT: Complaint or Perfected Citation
                     Felony:      No                         County of Offense: Washington, D.C.
       Class A Misdemeanor: Yes (Count 1)                  Estimated Trial Time: 2 days
   Class B or C Misdemeanor: Yes (Count 2)
                   (Petty Offense)
                                       COUNT/                                             PENALTIES
           STATUTE
                                     FORFEITURE          BRIEF DESCRIPTION         (Include Supervised Release
    (Title and Section(s))           ALLEGATION                                      and Special Assessment)
18 U.S.C. Sec. 1752(a)(1)&               One        Knowingly Entering or         Not more than 1 year
(2)                                                 Remaining in any Restricted   imprisonment; Up to a
                                                    Building or Grounds           $100,000 fine; Not more than 1
                                                    Without Lawful                year supervised release; Up to
                                                    Authority/Disorderly and      5 years probation; Special
                                                    Disruptive Conduct in a       Assessment $25
                                                    Restricted Building


                                                                                  Not more than 6 months
40 U.S.C. Sec. 5104(e)(2)(D)             Two        Violent Entry and             imprisonment; Not more than
& (G)                                               Disorderly Conduct on         a $5,000 fine; Not more than 1
                                                    Capitol Grounds/Parading,     year supervised release; Up to
                                                    Demonstrating, or Picketing   5 years probation; Special
                                                    in a Capitol Building         Assessment $10



   Date:     August 3, 2021                     Assistant U.S. Attorneys: Katherine Nielsen, DC USAO /
                                                                          Heather Patricco / Idaho USAO
                                                          Telephone No.: 208-334-9121
         Case 1:21-cr-00555-RCL Document 23 Filed 12/21/21 Page 4 of 18




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :       Case No:
                                               :
               v.                              :       VIOLATIONS:
                                               :
                                               :       18 U.S.C. § 1752(a)(1)
PAMELA ANNE HEMPHILL,                          :       (Restricted Building or Grounds)
                                               :
               Defendant.                      :       18 U.S.C. § 1752(a)(2)
                                               :       (Disorderly Conduct in a Restricted
                                               :       Building)
                                               :
                                               :       40 U.S.C. § 5104(e)(2)(D)
                                               :       (Violent Entry or Disorderly Conduct)
                                               :
                                               :       40 U.S.C. § 5104(e)(2)(G)
                                               :       (Parading, Demonstrating, or Picketing in
                                               :       a Capitol Building)

                                              ORDER

       This matter having come before the Court pursuant to the application of the United States

to seal criminal complaint, the Court finds that, because of such reasonable grounds to believe

the disclosure will result in flight from prosecution, destruction of or tampering with evidence,

intimidation of potential witnesses, and serious jeopardy to the investigation, the United States

has established that a compelling governmental interest exists to justify the requested sealing.

       1.      IT IS THEREFORE ORDERED that the application is hereby GRANTED, and

that the affidavit in support of criminal complaint and other related materials, the instant

application to seal, and this Order are sealed until the arrest warrant is executed.




                                                   4
         Case 1:21-cr-00555-RCL Document 23 Filed 12/21/21 Page 5 of 18




       2.      IT IS FURTHER ORDERED that the Clerk’s office shall delay any entry on the

public docket of the arrest warrant until it is executed.


Date: August 2, 2021
                                                       ___________________________________
                                                       ZIA M. FARUQUI
                                                       UNITED STATES MAGISTRATE JUDGE


Cc: Katherine Nielsen
Trial Attorney, Detailee
United States Attorney’s Office
Katherine.Nielsen@usdoj.gov




                                                  5
Case 1:21-cr-00555-RCL Document 23 Filed 12/21/21 Page 6 of 18
Case 1:21-cr-00555-RCL Document 23 Filed 12/21/21 Page 7 of 18
Case 1:21-cr-00555-RCL Document 23 Filed 12/21/21 Page 8 of 18
Case 1:21-cr-00555-RCL Document 23 Filed 12/21/21 Page 9 of 18
Case 1:21-cr-00555-RCL Document 23 Filed 12/21/21 Page 10 of 18
Case
Case1:21-cr-00555-RCL
     1:21-mj-00613-CWDDocument
                       Document2310Filed
                                     Filed
                                         12/21/21
                                           08/03/21Page
                                                    Page111of
                                                            of18
                                                               1
Case
Case 1:21-mj-00613-CWD
     1:21-cr-00555-RCL Document
                        Document23
                                 10-1Filed
                                        Filed
                                           12/21/21
                                              08/03/21Page
                                                        Page
                                                           12 1ofof183
Case
Case 1:21-mj-00613-CWD
     1:21-cr-00555-RCL Document
                        Document23
                                 10-1Filed
                                        Filed
                                           12/21/21
                                              08/03/21Page
                                                        Page
                                                           13 2ofof183
Case
Case 1:21-mj-00613-CWD
     1:21-cr-00555-RCL Document
                        Document23
                                 10-1Filed
                                        Filed
                                           12/21/21
                                              08/03/21Page
                                                        Page
                                                           14 3ofof183
       Case
       Case 1:21-mj-00613-CWD
            1:21-cr-00555-RCL Document
                               Document23
                                        10-2Filed
                                               Filed
                                                  12/21/21
                                                     08/03/21Page
                                                               Page
                                                                  15 1ofof181




                                    U.S. District Court

                           District of Idaho (LIVE) NextGen 1.6

Notice of Electronic Filing

The following transaction was entered on 08/03/2021 at 2:17:42 PM MDT and filed on
08/03/2021
Case Name:           USA v. Hemphill
Case Number:         1:21-mj-00613-CWD
Filer:
Document Number: 3 (No document attached)

Docket Text:
Docket Text Minute Entry for proceedings held before Judge Candy W. Dale:
Appearance by Heather Patricco for the Government; Federal Defender Angela
Chang appointed for the Defendant. Probation Officer Emma Wilkins present.
Initial Appearance in Rule 5(c)(3) Proceedings as to Pamela Anne Hemphill held
on 8/3/2021. Court Reviewed CJA23 Financial Affidavit. Waiver of Rule 5(c)(3)
Hearing. True name, as stated on the record: Pamela Anne Hemphill. Rights
advised. Notice re: GO#392, DPPA given. No Motion for Detention by the
Government. Parties stipulate to release of Defendant on conditions as proposed
by Pretrial Services. Order Setting Conditions of Release entered. Defendant
directed to appear on 8/5/2021 at 1:00 PM EST via Zoom for next appearance in
the District of Columbia. Zoom information to be provided to counsel and Pretrial
Services for distribution to Defendant. Oral Motion to Retain Bail Report Granted.
(Notice sent to USP & USM) Time in Court 1:38-2:00 PM. (ESR A. Tate.) Audio File
Location Courtroom 6. (at)
12/21/21, 1:34 PM      Case 1:21-cr-00555-RCL Document  23of Idaho
                                                    District  FiledLive12/21/21
                                                                        CM/ECF  Page 16 of 18

                                     Query       Reports            Utilities   Help    What's New    Log Out


                                       U.S. District Court
                    District of Idaho (LIVE) NextGen 1.6 (Boise - Southern)
              CRIMINAL DOCKET FOR CASE #: 1:21-mj-00613-CWD All Defendants


 Case title: USA v. Hemphill                                                           Date Filed: 08/03/2021

  Other court case number: 1:21-mj-00551 US District Court -                           Date Terminated: 08/03/2021
                           District of Columbia


 Assigned to: Judge Candy W. Dale

 Defendant (1)
 Pamela Anne Hemphill                                                  represented by Idaho Federal Defender
 TERMINATED: 08/03/2021                                                               Federal Defender Services of Idaho Inc
                                                                                      702 West Idaho Street, Suite 1000
                                                                                      Boise, ID 83702
                                                                                      (208) 331-5500
                                                                                      Email: joy_fish@fd.org
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED
                                                                                      Designation: Public Defender or
                                                                                      Community Defender Appointment

 Pending Counts                                                                        Disposition
 None

 Highest Offense Level (Opening)
 None

 Terminated Counts                                                                     Disposition
 None

 Highest Offense Level (Terminated)
 None

 Complaints                                                                            Disposition
 None



 Plaintiff
 USA                                                                   represented by Heather Patricco
                                                                                      United States Attorney's office
https://idd-ecf.sso.dcn/cgi-bin/DktRpt.pl?899479843245236-L_1_0-1                                                              1/3
12/21/21, 1:34 PM      Case 1:21-cr-00555-RCL Document  23of Idaho
                                                    District  FiledLive12/21/21
                                                                        CM/ECF   Page 17 of 18
                                                                     1290 West Myrtle Street, Suite 500
                                                                     Boise, ID 83702
                                                                     208-334-1211
                                                                     Email: Heather.Patricco@usdoj.gov
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED
                                                                     Designation: Retained


  Date Filed             #    Docket Text
  08/03/2021             1 Rule 5(c)(3) Documents Received from the District of Columbia as to Pamela Anne
                           Hemphill (Notice sent to USP & USM) (Attachments: # 1 Cover Sheet, # 2 Service
                           Information Sheet, # 3 Complaint, # 4 Order to Seal, # 5 Warrant)(kt) (Additional
                           attachment(s) added on 8/3/2021: # 6 Statement of Facts) (kt).
  08/03/2021             2 DOCKET ENTRY NOTICE OF HEARING as to Pamela Anne Hemphill (Notice sent to
                           USP & USM) Initial Appearance - Rule 5(c)(3) set for 8/3/2021 01:30 PM in Boise -
                           Courtroom 6 before Judge Candy W. Dale. (at)
  08/03/2021             3 Docket Text Minute Entry for proceedings held before Judge Candy W. Dale: Appearance
                           by Heather Patricco for the Government; Federal Defender Angela Chang appointed for
                           the Defendant. Probation Officer Emma Wilkins present. Initial Appearance in Rule 5(c)
                           (3) Proceedings as to Pamela Anne Hemphill held on 8/3/2021. Court Reviewed CJA23
                           Financial Affidavit. Waiver of Rule 5(c)(3) Hearing. True name, as stated on the record:
                           Pamela Anne Hemphill. Rights advised. Notice re: GO#392, DPPA given. No Motion for
                           Detention by the Government. Parties stipulate to release of Defendant on conditions as
                           proposed by Pretrial Services. Order Setting Conditions of Release entered. Defendant
                           directed to appear on 8/5/2021 at 1:00 PM EST via Zoom for next appearance in the
                           District of Columbia. Zoom information to be provided to counsel and Pretrial Services for
                           distribution to Defendant. Oral Motion to Retain Bail Report Granted. (Notice sent to USP
                           & USM) Time in Court 1:38-2:00 PM. (ESR A. Tate.) Audio File Location Courtroom 6.
                           (at) Modified on 8/3/2021 to add time in court (at).
  08/03/2021             4 DOCKET ENTRY ORDER APPOINTING FEDERAL DEFENDER: as to Pamela Anne
                           Hemphill. On the basis of the sworn financial affidavit, the Court finds Defendant is
                           financially unable to retain counsel. It is hereby ORDERED that the Federal Defender
                           Services of Idaho is hereby appointed to represent Defendant in these proceedings
                           pursuant to Title 18 United States Code 3006A. IT IS FURTHER ORDERED that the
                           Federal Defender shall immediately notify the Clerk's Office of any conflict of interest or
                           inability to continue this appointment. Signed by Judge Candy W. Dale. (at)
  08/03/2021             5 DOCKET TEXT DUE PROCESS PROTECTIONS ACT ORDER as to Pamela Anne
                           Hemphill: The Government shall adhere to all provisions of General Order #392. Signed
                           by Judge Candy W. Dale. (at)
  08/03/2021             6 CJA 23 Financial Affidavit by Pamela Anne Hemphill. (kt) (Entered: 08/04/2021)
  08/03/2021             7 ORDER Setting Conditions of Release as to Pamela Anne Hemphill (Notice sent to USP
                           & USM). Signed by Judge Candy W. Dale.(caused to be mailed to non Registered
                           Participants at the addresses listed on the Notice of Electronic Filing (NEF) by (kt)
                           (Entered: 08/04/2021)
  08/03/2021             8 ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT WHERE
                           CHARGES ARE PENDING AND TRANSFERRING BAIL as to Pamela Anne Hemphill
                           (Notice sent to USM). Signed by Judge Candy W. Dale.(caused to be mailed to non


https://idd-ecf.sso.dcn/cgi-bin/DktRpt.pl?899479843245236-L_1_0-1                                                        2/3
12/21/21, 1:34 PM      Case 1:21-cr-00555-RCL Document            23of Idaho
                                                              District  FiledLive12/21/21
                                                                                  CM/ECF  Page 18 of 18
                           Registered Participants at the addresses listed on the Notice of Electronic Filing (NEF) by
                           (kt) (Entered: 08/04/2021)
  08/03/2021             9 WAIVER of Rule 5(c)(3) Hearing by Pamela Anne Hemphill (Notice sent to USP & USM)
                           (kt) (Entered: 08/04/2021)
  08/03/2021           10 Notice to District of Columbia of a Rule 5 or Rule 32 Initial Appearance as to Pamela
                          Anne Hemphill. Your case number is: 1:21-mj-551. Using your PACER account, you may
                          retrieve the docket sheet and any unrestricted documents and text-only entries via the case
                          number link. (If you require certified copies of any documents, please send a request to
                          InterdistrictTransfer_IDD@id.uscourts.gov. If you wish to designate a different email
                          address for future transfers, send your request to
                          InterDistrictTransfer_TXND@txnd.uscourts.gov.) (Attachments: # 1 OSCR, # 2 Minute
                          Entry)(kt) (Entered: 08/05/2021)




https://idd-ecf.sso.dcn/cgi-bin/DktRpt.pl?899479843245236-L_1_0-1                                                        3/3
